                                                              United States Bankruptcy Court
                                                              Middle District of Pennsylvania
In re:                                                                                                                 Case No. 23-00220-MJC
George A. Semian                                                                                                       Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0314-5                                                  User: AutoDocke                                                             Page 1 of 2
Date Rcvd: Feb 02, 2023                                               Form ID: 309I                                                             Total Noticed: 29
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 04, 2023:
Recip ID                   Recipient Name and Address
db                     +   George A. Semian, 200 Adams Ave., Apt 403, Scranton, PA 18503-1607
5519691                +   Arturin, 1200 18th St. NW, Washington, DC 20036-2506
5519693                +   Berkheimer, Marketplace at Steamtown, 300 Lackawanna Ave. Unit#116, Scranton, PA 18503-2001
5519696                +   Besko Media, PO Box 280, Hamlin, PA 18427-0280
5519704                +   KNEPH, LLC d/b/a Realty Network Group, 222 Northern Blvd., Clarks Summit, PA 18411-8401
5519706                +   Law offices of Tullio DeLuca, 381 N. 9th Avenue, Scranton, PA 18504-2005
5519709                    PA Department of Revenue, Bureau of Individual Taxes, P.O. Box 280601, Harrisburg, PA 17128-0601
5519712                +   Reminder Media, 1100 1st Ave., Suite 200, King of Prussia, PA 19406-1327
5519714                +   Scranton-Spruce Master Tenant, LLC, 125 N Washington Ave, Scranton, PA 18503-1860
5519716                +   Tamara Souter, 704 Union St., Taylor, PA 18517-1316
5519718                +   Vinsko & Associates, P.C., 37 N River St, Wilkes Barre, PA 18702-2403

TOTAL: 11

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: tullio.deluca@verizon.net
                                                                                        Feb 02 2023 18:37:00      Tullio DeLuca, 381 N. 9th Avenue, Scranton, PA
                                                                                                                  18504
tr                         Email/Text: info@pamd13trustee.com
                                                                                        Feb 02 2023 18:37:00      Jack N Zaharopoulos, Standing Chapter 13,
                                                                                                                  (Trustee), 8125 Adams Drive, Suite A,
                                                                                                                  Hummelstown, PA 17036
ust                    + Email/Text: USTPRegion03.HA.ECF@USDOJ.GOV
                                                                                        Feb 02 2023 18:37:00      United States Trustee, 228 Walnut Street, Suite
                                                                                                                  1190, Harrisburg, PA 17101-1722
5519697                    EDI: CAPITALONE.COM
                                                                                        Feb 02 2023 23:44:00      Capital One Bank, P.O. Box 85015, Richmond,
                                                                                                                  VA 23285-5015
5519698                + Email/Text: bzern@celticbank.com
                                                                                        Feb 02 2023 18:37:00      Celtic Bank, 268 South State St., Salt Lake City,
                                                                                                                  UT 84111-5314
5519699                    EDI: WFNNB.COM
                                                                                        Feb 02 2023 23:44:00      Comenity Bank, Bankruptcy Department, P.O.
                                                                                                                  Box 182125, Columbus, OH 43218-2125
5519700                + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Feb 02 2023 18:46:40      Credit One, P.O. Box 98873, Las Vegas, NV
                                                                                                                  89193-8873
5519701                + EDI: AMINFOFP.COM
                                                                                        Feb 02 2023 23:44:00      First Premier Bank, 601 S Minnesota Ave, Sioux
                                                                                                                  Falls, SD 57104-4868
5519703                    EDI: IRS.COM
                                                                                        Feb 02 2023 23:44:00      Internal Revenue Service, Special Procedures
                                                                                                                  Branch, PO Box 7346, Philadelphia, PA
                                                                                                                  19101-7346
5519705                    Email/Text: govtaudits@labcorp.com
                                                                                        Feb 02 2023 18:37:00      Labcorp, PO Box 2240, Burlington, NC
                                                                                                                  27216-2240
5519707                + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Feb 02 2023 18:46:43      LVNV Funding, 15 South Main St., Suite 700,
                                                                                                                  Greenville, SC 29601-2793
5519708                + Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                        Feb 02 2023 18:46:40      Merrick Bank, P.O. Box 9201, Old Bethpage, NY




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District/off: 0314-5                                               User: AutoDocke                                                        Page 2 of 2
Date Rcvd: Feb 02, 2023                                            Form ID: 309I                                                        Total Noticed: 29
                                                                                                            11804-9001
5519710                   EDI: PENNDEPTREV
                                                                                    Feb 02 2023 23:44:00    PA Dept. of Revenue, Bankruptcy Division, Dept.
                                                                                                            280946, Harrisburg, PA 17128-0496
5519710                   Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                    Feb 02 2023 18:37:00    PA Dept. of Revenue, Bankruptcy Division, Dept.
                                                                                                            280946, Harrisburg, PA 17128-0496
5519711                 + EDI: PRA.COM
                                                                                    Feb 02 2023 23:44:00    Portfolio Recovery Assocs., 120 Corporate Blvd.,
                                                                                                            Norfolk, VA 23502-4952
5519713                 + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                    Feb 02 2023 18:46:40    Resurgent Capital Services, PO Box 1269,
                                                                                                            Greenville, SC 29602-1269
5519715                   EDI: RMSC.COM
                                                                                    Feb 02 2023 23:44:00    Synchrony Bank, Attn: Bankruptcy Dept., P.O.
                                                                                                            Box 965060, Orlando, FL 32896-5060
5519717                 + EDI: PHINGENESIS
                                                                                    Feb 02 2023 23:44:00    Tbom/Milestone, PO Box 4499, Beaverton, OR
                                                                                                            97076-4499
5519692                   Email/Text: vci.bkcy@vwcredit.com
                                                                                    Feb 02 2023 18:37:00    Audi Financial Services, 1401 Franklin Blvd.,
                                                                                                            Libertyville, IL 60048

TOTAL: 19


                                                     BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason    Name and Address
5519694          *+               Berkheimer, Marketplace At Steamtown, 300 Lackawanna Ave., Unit#116, Scranton, PA 18503-2001
5519695          *+               Berkheimer, Marketplace at Steamtown, 300 Lackawanna Ave. Unit#116, Scranton, PA 18503-2001
5519702          *+               George A. Semian, 200 Adams Ave., Apt 403, Scranton, PA 18503-1607

TOTAL: 0 Undeliverable, 3 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 04, 2023                                         Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 2, 2023 at the address(es) listed
below:
Name                              Email Address
Jack N Zaharopoulos
                                  TWecf@pamd13trustee.com

Tullio DeLuca
                                  on behalf of Debtor 1 George A. Semian tullio.deluca@verizon.net

United States Trustee
                                  ustpregion03.ha.ecf@usdoj.gov


TOTAL: 3




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Information to identify the case:

                       George A. Semian                                                       Social Security number or ITIN:      xxx−xx−5782
Debtor 1:
                                                                                              EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                     Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Middle District of Pennsylvania                               Date case filed for chapter:            13        2/1/23

Case number:          5:23−bk−00220−MJC

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                          04/19/21


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                       About Debtor 2:
1. Debtor's full name                              George A. Semian

2. All other names used in the aka George Andrew Semian, aka George Semian
   last 8 years
                                                   200 Adams Ave., Apt 403
3. Address                                         Scranton, PA 18503
                                                   Tullio DeLuca                                                         Contact phone 570 347−7764
   Debtor's attorney
4. Name                                            381 N. 9th Avenue
        and address                                Scranton, PA 18504                                                    Email: tullio.deluca@verizon.net

5. Bankruptcy trustee                              Jack N Zaharopoulos                                                   Contact phone 717−566−6097
     Name and address                              Standing Chapter 13
                                                   (Trustee)                                                             Email: info@pamd13trustee.com
                                                   8125 Adams Drive, Suite A
                                                   Hummelstown, PA 17036

6. Bankruptcy clerk's office                                                                                             Hours open:
     Documents in this case may be filed                                                                                 Monday − Friday 9:00 AM to 4:00 PM
     at this address.                              Max Rosenn U.S. Courthouse
     You may inspect all records filed in          197 South Main Street
                                                   Wilkes−Barre, PA 18701                                                Contact phone (570) 831−2500
     this case at this office or online at
      pacer.uscourts.gov.
                                                                                                                         Date: 2/2/23
                                                                                                                                 For more information, see page 2
Receiving Court Issued Orders and Notices by E−Mail: (1) Anyone can register for the Electronic Bankruptcy Noticing program at ebn.uscourts.gov.
(2) Only Debtors can register for DeBN (Debtor's Electronic Bankruptcy Noticing) by filing a DeBN Request form (www.pamb.uscourts.gov/debn−form),
with the Clerk of Court. Both options are FREE and allow the clerk to quickly send you Court Issued Orders and Notices by E−Mail.




Official Form 309I                                         Notice of Chapter 13 Bankruptcy Case                                                      page 1




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Debtor George A. Semian                                                                                                       Case number 5:23−bk−00220−MJC

7. Meeting of creditors                                                                                             Location:
   Debtors must attend the meeting to     March 13, 2023 at 09:30 AM (by video conf.)                               Debtor/Counsel: you will be emailed 6
   be questioned under oath. In a joint                                                                             days prior to the meeting date with the
   case, both spouses must attend.                                                                                  Zoom link details.
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later date. If             Any other party wishing to appear: You
   required to do so.                     so, the date will be on the court docket.                                 must email the Trustee's Office at
                                                                                                                    info@pamd13trustee.com prior to the
                                                                                                                    meeting and you will be emailed
                                              *** Valid photo identification and proof of social security           instructions.
                                                                number are required ***
8. Deadlines                               Deadline to file a complaint to challenge                                 Filing deadline: 5/12/23
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                       Filing deadline: 4/12/23
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                        Filing deadline: 7/31/23
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                          Filing deadline:        30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                 conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                  meeting of creditors
                                           may file an objection.

9. Filing of plan                         The debtor has filed a plan. The plan and notice of confirmation hearing will be sent separately.

10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at pacer.uscourts.gov. If you believe that the
                                           law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                           exemptions in line 8.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                        page 2




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